Case 3:24-cv-01506-KM-EW Document1 Filed 09/06/24 Page1of7

CIVIL COMPLAINT FORM TO BE USED BY A PRO SE PRISONER

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

pe Se WN ers A
‘Pull Name of Plaintiff
: Civil No.
¥. : (to be filled in by the Clerk’s Office)
¥ WN. Jeremy kot CW (__) Demand for Jury Trial
Name of Defendant’ : (___) No Jury Trial Demand

Name of Defendant 2

FILED

HARRISBURG, PA

Name of Defendant 3

SEP 06 2024
The

PER

: Tete
Name of Defendant 4 ; DEPUTY CLERK

Name of Defendant 5
(Print the names of all defendants. If the names of all

defendants do not fit in this space, you may attach

additional pages. Do not include addresses in this

section).

I.

NATURE OF COMPLAINT

Indicate below the federal legal basis for your claim, if known.

f

on

v
fo

Civil Rights Action under 42 U.S.C. § 1983 (state, county, or municipal defendants)

Civil Rights Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388
(1971) (federal defendants)

Negligence Action under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346, against the
United States

Page Lof6
I.

Case 3:24-cv-01506-KM-EW Document1 Filed 09/06/24

ADDRESSES AND INFORMATION
A. PLAINTT

Page 2 of 7

Name (Le First, MD

bey fe LE

4 A sonia Be

J

City, County, State, . Zip Code

Indicate whether you are a prisoner or other confined person as follows:
Pretrial detainee .

Civilly. committed detainee

Immigration detainee

“ Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

B. DEFENDANT(S)

Provide the information below for each defendant. Attach additional pages if needed.

Make sure that the defendant(s) listed below are identical to those contained in the caption. If
incorrect information is provided, it could result in the delay or prevention of service of the

complaint.
Rotendant 1:

Name eat Fisst)

Ye, * af
C " oa oe

cay

ome ob Oa

Current Work Adére ess.
\ As, » be

City, c County, State, Zip Code

Page 2 of 6
Case 3:24-cv-01506-KM-EW Document 1

Defendant 2:

Filed 09/06/24

Page 3 of 7

Name (Last, First)

Current Job Title

Current Work Address

City, County, State, Zip Code

Defendant 3:

Name (Last, First)

Current Job Title

Current Work Address

: City, County, State, Zip Code

Defendant 4:

Name (Last, First)

Current Job Title

Current Work Address

City, County, State, Zip Code

Defendant 5:

Name (Last, First)

Current Job Title

Current Work Address

City, County, State, Zip Code
Page 3 of 6
Case 3:24-cv-01506-KM-EW Document1_ Filed 09/06/24 Page 4of7

OL. STATEMENT OF FACTS

State only the facts of your claim below. Include all the facts you consider important. Attach additional
pages if needed.

A. Describe where and when the events giving tise to your claim(s) arose.

Baye A Vk
Ay Ve i ay wed™ et :

On what date did the events giving rise to your claim(s) occur?

“,

“3 eo Le OR tmp w% Phe Pom
Pe, Q Boman op EE ONE Ee BS Lf aff ee
i bass tea, ane i A Log VES he itten  P tated Lode Nad be

q

C. ! What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what?)

Page 4 of 6
Case 3:24-cv-01506-KM-EW Document1_ Filed 09/06/24 Page 5of7

IV, LEGAL CLAIM(S)

You are not required to make legal argument or cite any cases or statutes. However, state what
constitutional rights, statutes, or laws you believe were violated by the above actions. If you intend to
assert multiple claims, number and set forth each claim in separate paragraphs. Attach additional pages if
needed.

¥. INJURY

Describe with specificity what injury, harm, or damages you suffered because of the events described
above.

fy

Vi RELIEF

State exactly what you want the court to do for you. For example, you may be secking money damages,
you may want the court to order a defendant to do something or stop doing something, or you may be
seeking both types of relief. If you are seeking monetary relief, state your request generally. Do not
request a specific amount of money.

mm

, PEM,

Page 5 of 6
Case 3:24-cv-01506-KM-EW Document1_ Filed 09/06/24 Page 6 of 7

VIL SIGNATURE

By signing this complaint, you represent to the court that the facts alleged are true to the best of your
knowledge and are supported by evidence, that those facts show a violation of law, and that you are not
filing this complaint to harass another person or for any other improper purpose.

Local Rule of Court 83.18 requires pro se plaintiffs to keep the court informed of their current address. If
your address changes while your lawsuit is being litigated, you must immediately inform the court of the
change in writing. By signing and submitting the complaint fonm, you agree to provide the Clerk's Office
with any changes to your address where case-related papers may be served, and you acknowledge that
your failure to keep a current address on file with the Clerk’s Office may result in dismissal of your case.

to
Oy

, RAY Age mba:
Sat Sone aay et

Signature of Plaintiff

2
?

Page 6 of 6
- Case 3:24-cv-01506-KM-EW Document1 Filed 09/06/24

Wodzdae Va LOLS
Nate Mier

OCI

CEE Of he Clerk
Uriked, Grates Bisttide Gott”

snes
Q \ se K. aloe Unie Gees Cou
sv fee (gee ehreate; Quite Lot

_ ASAE.
Rartihorsy Pa

Pa DEPT Le,
OF COPRECTIONS «2:

Idle de ue Thea edt

